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In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS

******************** *
LANCE BUTERBAUGH,        *
                         *                         No. 14-127V
             Petitioner, *                         Special Master Christian J. Moran
                         *
v.                       *                         Filed: March 24, 2016
                         *
SECRETARY OF HEALTH      *                         Stipulation;
AND HUMAN SERVICES,      *                         Tetanus-dipheria- acellular Pertussis
                         *                         (“Tdap”) vaccine;
             Respondent. *                         Guillain-Barré syndrome (“GBS”).
******************** *


Ronald Homer, Conway, Homer & Chin-Caplan, P.C., Boston, MA, for Petitioner;
Linda Renzi, U.S. Dep’t of Justice, Washington, DC, for Respondent.

                             UNPUBLISHED DECISION1

       On March 21, 2016, the parties filed a joint stipulation concerning the
petition for compensation filed by Lance Buterbaugh on February 12, 2014. In his
petition, petitioner alleged that the Tetanus-diphteria- acellular Pertussis (“Tdap”)
vaccine, which is contained in the Vaccine Injury Table (the “Table”), 42 C.F.R.
§100.3(a), and which he received on February 23, 2012, caused him to suffer
Guillain-Barré Syndrome (“GBS”). Petitioner further alleges that he suffered the
residual effects of this injury for more than six months. Petitioner represents that
there has been no prior award or settlement of a civil action for damages on his
behalf as a result of his condition.



       1
         The E-Government Act, 44 U.S.C. § 3501 note (2012) (Federal Management and
Promotion of Electronic Government Services), requires that the Court post this decision on its
website. Pursuant to Vaccine Rule 18(b), the parties have 14 days to file a motion proposing
redaction of medical information or other information described in 42 U.S.C. § 300aa-12(d)(4).
Any redactions ordered by the special master will appear in the document posted on the website.
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      Respondent denies that the Tdap vaccine caused petitioner to suffer GBS or
any other injury or his current condition.

      Nevertheless, the parties agree to the joint stipulation, attached hereto as
Appendix A. The undersigned finds said stipulation reasonable and adopts it as the
decision of the Court in awarding damages, on the terms set forth therein.

        Damages awarded in that stipulation include:

        A lump sum payment of $165,000.00 in the form of a check payable to
        petitioner, Lance Buterbaugh. This amount represents compensation
        for all damages that would be available under 42 U.S.C. § 300aa-15(a).

       In the absence of a motion for review filed pursuant to RCFC, Appendix B,
the clerk is directed to enter judgment in case 14-127V according to this decision
and the attached stipulation.2

        Any questions may be directed to my law clerk, Dan Hoffman, at (202) 357-
6360.

        IT IS SO ORDERED.

                                                     s/Christian J. Moran
                                                     Christian J. Moran
                                                     Special Master




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          Pursuant to Vaccine Rule 11(a), the parties can expedite entry of judgment by each
party filing a notice renouncing the right to seek review by a United States Court of Federal
Claims judge.

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